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                                                   4
                                                     Attorneys for Defendant
                                                   5 MTK Global Sports Management, LLC
                                                   6
                                                                           UNITED STATES DISTRICT COURT
                                                   7
                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                   8
                                                                                 EASTERN DIVISION
                                                   9
                                                       MOSES HEREDIA,                        Case No. 5:20-cv-02618-JWH (KKx)
                                                 10
                                                                  Plaintiff,                 DEFENDANT MTK GLOBAL
                                                 11                                          SPORTS MANAGEMENT, LLC’S
                                                           v.
                                                 12                                          NOTICE OF MOTION AND
                 WEST HILLS, CALIFORNIA 91307




                                                    MTK GLOBAL SPORTS                        MOTION TO SET ASIDE
DAVID S. HARRIS, P.C.
                   6520 PLATT AVENUE #683




                                                 13 MANAGEMENT, LLC; MTK                     DEFAULT
                                                    GLOBAL USA, LLC; GOLDEN BOY
                        (747) 444-0780




                                                 14 PROMOTIONS, INC.; PAUL D.
                                                    GIBSON; AND DANIEL KINAHAN,              [Memorandum of Points and
                                                 15                                          Authorities, Declaration of Quentin
                                                             Defendants.
                                                 16                                          Richard Reynolds, Declaration of
                                                                                             Michael V. Mancini, Declaration of
                                                 17                                          David S. Harris, and Proposed Order
                                                 18                                          filed concurrently herewith]
                                                 19                                          Date: April 8, 2022
                                                 20                                          Time: 9:00 a.m.
                                                                                             Judge: Hon. John W. Holcomb
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                                                                MTK GLOBAL’S NOTICE OF MOTION AND MOTION TO SET ASIDE DEFAULT
                                                Case 5:20-cv-02618-JWH-KK Document 71 Filed 03/08/22 Page 2 of 3 Page ID #:541




                                                   1 TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
                                                   2 RECORD:
                                                   3         PLEASE TAKE NOTICE THAT, on April 8, 2022 at 9:00 a.m., or as soon
                                                   4 thereafter as the matter may be heard, in the Courtroom of the Honorable John W.
                                                   5 Holcomb, located at 3470 12th Street, Riverside, CA 92501, Courtroom 2, specially
                                                   6 appearing1 defendant MTK Global Sports Management, LLC (“MTK Global”) will
                                                   7 and hereby does move, pursuant to Federal Rule of Civil Procedure 55(c), for an
                                                   8 order setting aside the default that was entered against MTK Global in this matter on
                                                   9 or about February 2, 2022.
                                                 10          Good cause exists to grant this motion. Plaintiff Moses Heredia did not
                                                 11 properly serve MTK Global with the summons in this matter. Federal Rules of Civil
                                                 12 Procedure 4(f) and (h) provide that a foreign company—such as MTK Global—may
                 WEST HILLS, CALIFORNIA 91307
DAVID S. HARRIS, P.C.
                   6520 PLATT AVENUE #683




                                                 13 be served in a manner that comports with the foreign country’s law. Although Mr.
                        (747) 444-0780




                                                 14 Heredia purports to have served MTK Global in accordance with United Arab
                                                 15 Emirates (“UAE”) law, he did not do so. His publication of the notice of summons
                                                 16 in a newspaper was not permitted under UAE law; his courier delivered the
                                                 17 summons to the wrong physical address; and there is no evidence of his process
                                                 18 server having ever sent any emails attaching the summons.
                                                 19          Even if Mr. Heredia had properly served MTK Global, there would still be
                                                 20 good cause to grant this motion. Indeed, all three of the relevant factors weigh in
                                                 21 favor of setting aside the default. First, MTK Global has not engaged in “culpable”
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                                                 23
                                                 24    1
                                                        MTK Global is appearing specially because it has not been properly served with
                                                       the summons in this case and seeks to preserve any and all arguments it may have
                                                 25    regarding process, venue, and jurisdiction. See Peterson v. Highland Music, Inc.,
                                                 26    140 F.3d 1313, 1319 n.3 (9th Cir. 1998) (noting that a defendant may enter a special
                                                       appearance); but see S.E.C. v. Ross, 504 F.3d 1130, 1149 (9th Cir. 2007)
                                                 27    (explaining that the Federal Rules eliminate the need for a defendant to enter a
                                                 28    special appearance to preserve arguments regarding process, venue, or jurisdiction).
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                                                                 MTK GLOBAL’S NOTICE OF MOTION AND MOTION TO SET ASIDE DEFAULT
                                                Case 5:20-cv-02618-JWH-KK Document 71 Filed 03/08/22 Page 3 of 3 Page ID #:542




                                                   1 conduct, and is not attempting to delay or otherwise gain any advantage over Mr.
                                                   2 Heredia; to the contrary, MTK Global offered to agree to accept service of the
                                                   3 summons if Mr. Heredia agreed to withdraw the default. Second, MTK Global has
                                                   4 meritorious defenses to Mr. Heredia’s claims; indeed, most of his claims are based
                                                   5 on falsehoods and, even if they weren’t, he has no damages in this case. Third, Mr.
                                                   6 Heredia will not be prejudiced by setting aside the default; he will merely have to
                                                   7 litigate his claims on the merits.
                                                   8        For all of these reasons, as well as the reasons set forth in the concurrently
                                                   9 filed Memorandum of Points and Authorities, MTK Global respectfully requests
                                                 10 that the Court grant this motion and set aside the default.
                                                 11         This motion is made following a conference of counsel pursuant to Local
                                                 12 Rule 7-3, which included both a lengthy telephone conference that took place on
                 WEST HILLS, CALIFORNIA 91307
DAVID S. HARRIS, P.C.
                   6520 PLATT AVENUE #683




                                                 13 February 17, 2022, as well as numerous emails that were exchange by and between
                        (747) 444-0780




                                                 14 the parties between February 15 and 25, 2022. (See Harris Decl. ¶¶ 2-5.)
                                                 15         This is motion is based on this Notice of Motion, the concurrently filed
                                                 16 Memorandum of Points and Authorities, Declaration of Quentin Richard Reynolds,
                                                 17 Declaration of Michael V. Mancini, and Declaration of David S. Harris, as well as
                                                 18 all pleadings and other matters already before the Court in this action, and such
                                                 19 further argument and evidence as may be presented at or before any hearing on this
                                                 20 motion. A proposed order is respectfully submitted herewith.
                                                 21
                                                 22 DATED: March 8, 2022                  DAVID S. HARRIS, P.C.
                                                 23
                                                                                          By       /s/ David S. Harris
                                                 24                                            David S. Harris
                                                 25                                            Attorneys for Defendant
                                                                                               MTK Global Sports Management, LLC
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                                                                MTK GLOBAL’S NOTICE OF MOTION AND MOTION TO SET ASIDE DEFAULT
